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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.     CR07-156 RSL
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    LUCAS HUGHES-HALL,           )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Conspiracy to Distribute Cocaine, in violation to Title 21, U.S.C., Sections
18            841(a)(1), 841(b)(1)(A), and 846.
19 Date of Detention Hearing: April 30, 2007
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22 hereafter set forth, finds that no condition or combination of conditions which the defendant
23 can meet will reasonably assure the appearance of the defendant as required and the safety
24 of any other person and the community. The Government was represented by Ronald
25 Friedman and Norman Barbosa. The defendant was represented by Richard Troberman.
26


     DETENTION ORDER
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 1       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2           (1)    There is probable cause to believe the defendant committed the cocaine
 3                  conspiracy drug offense. The maximum penalty is in excess of ten years.
 4                  There is therefore a rebuttable presumption against the defendant’s
 5                  release based upon both dangerousness and flight risk, under Title 18
 6                  U.S.C. § 3142(e).
 7           (2)    Defendant represents a risk of nonappearance as he is a Canadian citizen
 8                  with no ties to the United States.
 9           (3)    Although Defendant has no criminal history, he was contacted by the
10                  Royal Canadian Mounted Police regarding cross-boarder narcotics
11                  activities in March 2007, to which he admitted involvement. A month
12                  later he was observed engaged in the same activity which is the subject
13                  of the instant case.
14   Based upon the foregoing information, it appears that there is no condition or
15   combination of conditions that would reasonably assure future Court appearances and/or
16   the safety of other persons or the community.
17           It is therefore ORDERED:
18           (l)    The defendant shall be detained pending trial and committed to the
19                  custody of the Attorney General for confinement in a correction facility
20                  separate, to the extent practicable, from persons awaiting or serving
21                  sentences or being held in custody pending appeal;
22           (2)    The defendant shall be afforded reasonable opportunity for private
23                  consultation with counsel;
24           (3)    On order of a court of the United States or on request of an attorney for
25                  the Government, the person in charge of the corrections facility in which
26                  the defendant is confined shall deliver the defendant to a United States

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 1               Marshal for the purpose of an appearance in connection with a court
 2               proceeding; and
 3         (4)   The clerk shall direct copies of this order to counsel for the United
 4               States, to counsel for the defendant, to the United States Marshal, and to
 5               the United States Pretrial Services Officer.
 6         DATED this 1st day of May, 2007.



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 9                                                  MONICA J. BENTON
10                                                  United States Magistrate Judge

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     DETENTION ORDER
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